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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 MARIE MAYEROVA and ARIANA
 CHRETIEN, individually and on behalf of    : Case No. 18-cv- 11909-GCS-
 all those similarly situated               : RSW
                                            :
                           Plaintiff,       : Hon. George Caram Steeh
                                            : Mag. R. Steven Whalen
        v.                                  :
                                            :        DEFENDANTS’
 EASTERN MICHIGAN UNIVERSITY,               :    MOTION TO DISMISS
 JAMES SMITH, SCOTT                         :
 WETHERBEE, and THE BOARD OF                :      ORAL ARGUMENT
 REGENTS,                                   :          REQUESTED
                                            :
                           Defendants.      :
                                            :
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       Defendants, through their counsel, move to dismiss Plaintiffs’ Complaint

 and Jury Demand pursuant to Fed. R. Civ. P. 12(b)(6) for the following reasons, as

 more fully explained in the attached Brief:

       1.     On June 15, 2018, Plaintiffs filed a two count lawsuit against Eastern

 Michigan University (“EMU” or the “University”), James Smith, Scott Wetherbee,

 and the EMU Board of Regents.

       2.     Count I asserts a claim under Title IX against EMU and the Board of

 Regents.   Specifically, Plaintiffs allege that EMU “fail[s] to provide female

 students an equal opportunity to participate in varsity intercollegiate athletics in

 violation of Title IX and 34 C.F.R A [sic] §106.41(c)(1).” (Dkt#1, Compl, ¶78).

       3.     Count II relies on the same facts as Count I and alleges that

 Defendants violated the Equal Protection Clause when it reduced four sports teams

 (men’s wrestling, men’s swimming and diving, women’s softball, and women’s

 tennis), which affected male and female student-athletes.

       4.     Plaintiff’s Complaint should be dismissed for the following reasons:

                 a. Count II fails to state a claim because Plaintiffs cannot establish

                    intentional discrimination as their Complaint concedes that the

                    University treated male and female student-athletes the same

                    when the University disbanded two male and two female

                    athletic teams.



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                 b. Count I fails to state a claim for relief because Plaintiffs cannot

                     establish intentional discrimination and because there is no

                     private right of action to enforce the Title IX regulations (and

                     sub-regulation-level administrative policy guidance) that form

                     the basis for Plaintiffs’ claim;

       5.     Additionally, to the extent Plaintiffs seek money damages (as alleged

 in their Complaint), then the individual defendants are entitled to qualified

 immunity and should be dismissed.

       6.     Pursuant to Local Rule 7.1, on August 16, 2018, defense counsel

 sought concurrence in the relief sought from Plaintiffs’ attorneys.         During a

 conference, defense counsel explained the nature of the motion and its legal basis.

 Plaintiffs’ counsel Lori Bullock denied concurrence in the relief sought.

       WHEREFORE, Defendants respectfully request that this Court dismiss

 Plaintiff’s Complaint in its entirety and with prejudice.

                                  Respectfully submitted,

                                  /s/Brian M. Schwartz
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 MARIE MAYEROVA and ARIANA
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 all those similarly situated               : RSW
                                            :
                           Plaintiff,       : Hon. George Caram Steeh
                                            : Mag. R. Steven Whalen
        v.                                  :
                                            :    BRIEF IN SUPPORT OF
 EASTERN MICHIGAN UNIVERSITY,               :        DEFENDANTS’
 JAMES SMITH, SCOTT                         :    MOTION TO DISMISS
 WETHERBEE, and THE BOARD OF                :
 REGENTS,                                   :
                                            :
                           Defendants.      :
                                            :
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                            Statement of Issues Presented

  I.     Should the Court dismiss Plaintiffs’ Equal Protection claim because
         Plaintiffs do not plausibly allege that Defendants engaged in intentional
         discrimination based on gender where they admit that the sole actionable
         adverse action taken affected both male and female student-athletes?

               Defendants assert that the answer is “yes”

  II.    Should the Court dismiss Plaintiffs’ Title IX claim because Plaintiffs do not
         state a plausible claim for relief where they fail to allege intentional
         discrimination and because they seek to enforce regulations that do not
         provide a private right of action?

               Defendants assert that the answer is “yes”

  III.   In the event the Court does not dismiss Plaintiffs’ claims in their entirety,
         should the Court (a) strike Plaintiffs’ claim for money damages due to their
         concession on the record that they are only seeking equitable relief, and
         (b) dismiss the individual defendants on qualified immunity grounds to the
         extent Plaintiffs seek money damages?

               Defendants assert that the answer is “yes”




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                                   I.     Introduction

         Dissatisfied with Eastern Michigan University’s budgetary decision to

  eliminate four sports teams, Plaintiffs filed a putative class action lawsuit seeking

  to have the Court require EMU to recreate the two women’s teams. According to

  Plaintiffs, EMU’s actions do not comply with regulations and policy guidance and

  therefore violate Title IX and the Equal Protection Clause.

         Plaintiffs Complaint should be dismissed for failure to state a claim upon

  which relief can be granted. An essential element of both claims is proof that the

  University intentionally or purposefully discriminated against women. Plaintiffs

  fail to allege any facts or circumstances that would support an intentional

  discrimination claim. Indeed, some of Plaintiffs’ affirmative allegations negate

  their ability to state a claim, as those allegations establish that male student-athletes

  experienced a disproportionately adverse effect from the cuts. The absence of any

  allegations that could plausibly support a finding of intentional discrimination is

  fatal to Plaintiffs’ claims.

         Plaintiffs instead allege that EMU’s athletic programs are not in compliance

  with certain regulations as interpreted in a series of Policy Interpretations

  published by the United States Department of Education’s Office of Civil Rights

  (“OCR”). Even assuming arguendo that EMU is not compliant with the Policy

  Interpretation, lack of compliance is not equivalent to the intentional
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  discrimination required to state a claim under Title IX or the Equal Protection

  Clause. Moreover, alleged lack of compliance with the Policy Interpretation is not

  enforceable by a private right of action under Title IX because the regulation

  forbids conduct that is not itself intentional discrimination. Accordingly, Plaintiffs

  fail to state a claim under either the Equal Protection Clause or Title IX.

                               II.    Statement of Facts1

        Stripped of conclusions and characterizations, Plaintiffs’ Complaint alleges

  that in March 2018, EMU eliminated four sports: women’s tennis and softball, and

  men’s wrestling and swimming and diving. (Dkt#1, Compl, ¶57).2 Plaintiffs

  further allege that women’s athletic participation opportunities at EMU have

  historically not been proportionate to the ratio of women in EMU’s student body.

  (Id. ¶56).   Plaintiffs acknowledge that the discontinuance of the four sports

  1
    For the purposes of this Motion only, Defendants assume – as they must under
  motions brought pursuant to Fed. R. Civ. P. 12(b)(6) – that the facts alleged in
  Plaintiffs’ Complaint are true.
  2
    The only discrete decision that Plaintiffs challenge is the March 2018 decision to
  eliminate the four sports. (Dkt#1, Compl, at p. 1 (Introduction), ¶¶2, 56, 58). To
  the extent they mention an alleged preexisting disparity in the proportion of
  women student-athletes to the proportion of women students, any decisions that
  might have led to that status are beyond the scope of the litigation. Plaintiffs
  clearly experienced no harm from decisions about which sports to offer or the
  roster sizes thereof prior to March 2018, as both allege they were recruited to play
  and did play the sport of their choice up until the filing of the litigation. Thus they
  would lack standing to challenge any earlier decisions which, in any event, are
  barred by the applicable statute of limitations. MCL 600.5805(10); Lillard v.
  Shelby County Board of Education, 76 F.3d 716, 729 (6th Cir. 1996) (Title IX);
  Wolfe v. Perry, 412 F.3d 707, 714 (6th Cir. 2005) (§1983).


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  affected both men and women student-athletes. (Id. ¶ 59). Although not specific

  about the number of male student-athletes affected, they do allege that the sport

  eliminations will reduce the degree of any disparity in the proportion of women

  student-athletes compared to the proportion of women students. (Id. ¶ 33). They

  further allege that while this “participation gap” between men and women will

  shrink by a significant amount, a lack of substantial proportionality between the

  percentage of women student-athletes and the percentage of women in the overall

  student body will still remain. (Id.)3 Plaintiffs specifically allege that they are not

  challenging any aspects of the EMU athletics programs other than the relative

  number of participation opportunities available to male and female students. (Id.,

  ¶45) (“This lawsuit is about effective accommodation only.”)

        The central focus of Plaintiffs’ Complaint is their assertion that the above

  facts establish that EMU is not complying with a 1979 Policy Interpretation issued

  by OCR. (Dkt#1, Complaint, ¶¶43-45, 78-79). Specifically, Plaintiffs assert that

  the Policy Interpretation sets forth three alternative measures of compliance with

  the accommodation aspect of Title IX: (1) whether there is substantial

  3
    In terms of the number of student-athletes affected, Plaintiffs allege that there
  were approximately 25 women student-athletes affected by the cuts, 8 in tennis and
  17 in softball, (id. ¶ 2), but make no allegations about the exact number of male
  student-athletes on the men’s wrestling and swimming & diving teams that were
  also eliminated. However, they allege that before the cuts EMU would have had to
  add 200 women athletes to reach statistical proportionality, and that after the cuts
  of the men’s teams that number had dropped to 120. (Dkt#1, Compl, ¶33).


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  proportionality of the percentage of women student-athletes and women students,

  (2) whether the University has a continuing history of expanding women’s athletic

  opportunities, or (3) whether EMU is fully satisfying the athletics interests of its

  female students. (Id. ¶¶ 43-45). Plaintiffs then allege that EMU fails to meet each

  alternative. (Id. ¶¶ 78-79).

        Significantly, Plaintiffs do not allege that the March 2018 decision

  adversely impacted female student-athletes as compared to male student-athletes.

  Additionally, the Complaint does not contend that the March 2018 decision was

  motivated by a gender bias or that EMU or any of its agents said or did anything

  that suggested EMU negatively considered female student-athletes when it made

  the decisions to eliminate the sports. Instead, their central claim is that EMU has

  historically had a statistical imbalance between the percentage of its student body

  that is female and the percentage of its varsity student-athletes that are female, and

  that because the March 2018 decision did not make EMU’s female student-athlete

  participation rate “substantially proportionate” to the gender composition of the

  student body, EMU violated Title IX and the Equal Protection Clause.

                                    III.   Argument

  A.    Standard of Review

        Defendants’ motion tests whether Plaintiffs have stated claims upon which

  relief can be granted and whether, under Fed. R. Civ. P. 8(a), they have made the



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  requisite “showing that [they are] entitled to relief.” Under Bell Atlantic Corp. v.

  Twombly, 550 U.S. 544 (2007), to survive a motion to dismiss, plaintiffs must

  assert sufficient factual allegations to establish that their claims are “plausible on

  [their] face,” i.e., there must be more than the mere possibility that defendants

  acted unlawfully. Id. at 556; see also id. at 555 (“A plaintiff’s obligation to

  provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and

  conclusions, and a formulaic recitation of the elements of a cause of action will not

  do.”).

           In Ashcroft v. Iqbal, 556 U.S. 662 (2009), the Supreme Court elaborated on

  Twombly, explaining the proper two-step analysis. First, although courts generally

  accept as true the complaint allegations, this rule is “inapplicable to legal

  conclusions.” Id. at 678. In other words, courts first disregard all conclusory

  statements and allegations in the complaint. This is because “[t]hreadbare recitals

  of the elements of a cause of action, supported by mere conclusory statements, do

  not suffice. Rule 8 … does not unlock the doors of discovery for a plaintiff armed

  with nothing more than conclusions.” Id. at 678-79. Thus, allegations based upon

  “information and belief” should be disregarded because they “are precisely the

  kinds of conclusory allegations that Iqbal and Twombly condemned and thus told




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  [courts] to ignore when evaluating a complaint's sufficiency.”4 16630 Southfield

  Ltd. P'ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 506 (6th Cir. 2013).

        Second, courts review the remaining allegations to determine whether they

  “plausibly” entitle the plaintiff to relief.   For a claim to be “plausible,” it is

  insufficient that the facts alleged are “‘consistent with’ a defendants’ liability” or

  that a violation is “conceivable.” 556 U.S. at 680 (quoting Twombly, 550 U.S. at

  567). “[W]here the well-pleaded facts do not permit the court to infer more than

  the mere possibility of misconduct, the complaint has alleged-but it has not

  ‘show[n]’-‘that the pleader is entitled to relief.’” Id. at 679 (quoting Fed. Rule Civ.

  Proc. 8(a)(2)).

        In Iqbal, a discrimination case, the Court first identified conclusory

  allegations that “amount[ed] to nothing more than a ‘formulaic recitation of the

  elements’ of a constitutional discrimination claim.” Id. at 681 (quoting Twombly,

  supra). These assertions, such as that the defendant adopted a policy “because of”

  its adverse effects on individuals with a certain race, religion and national origin,

  were not entitled to a presumption of truth. Id. At step two, the Court addressed

  the remaining factual allegations, which were “consistent with” discriminatory



  4
    Plaintiffs’ Complaint is replete with allegations made on “information and
  belief.” For example, Plaintiffs assert “on information and belief” that EMU has
  not taken any actions to satisfy its Title IX obligations. (Id., ¶47. See also id.,
  ¶¶32, 47, 48, 56, 61, 63, 64, 80).


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  treatment, “[b]ut given more likely explanations, [the allegations did] not plausibly

  establish [their] purpose.” Id. at 681. Thus, dismissal was appropriate.

         Interpreting Twombly and Iqbal, the Sixth Circuit has explained that, “the

  combined effect of Twombly and Iqbal require [a] plaintiff to have greater

  knowledge now of factual details in order to draft a ‘plausible complaint.’” New

  Albany Tractor v. Louisville Tractor, 650 F.3d 1046, 1051 (6th Cir. 2011). In

  other words, a “plaintiff must allege specific facts [to support a plausible claim]

  even if those facts are only within the head or hands of the defendants. The

  plaintiff may not use the discovery process to obtain these facts after filing suit.

  The language of Iqbal, ‘not entitled to discovery,’ is binding on the lower federal

  courts.” Id. Accordingly, a complaint that does not provide the “when, where, in

  what or by whom” to support conclusory allegations fails to state a claim. Center

  for Bio-Ethical Reform v. Napolitano, 648 F.3d 365, 373 (6th Cir. 2011); see also

  id. at 368 (noting that following Twombly and Iqbal, it is “well settled” that a

  complaint must contain sufficient factual allegations to plausibly state a claim for

  relief).

  B.     Plaintiffs Fail to State a Claim that Defendants Violated the Equal
         Protection Clause
         “The Equal Protection Clause forbids only intentional discrimination.”

  Horner v. Kentucky High Sch. Athletic Ass'n, 43 F.3d 265, 276 (6th Cir. 1994)

  (citing Washington v. Davis, 426 U.S. 229 (1976)). The Equal Protection Clause


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  prohibits a state from denying to “any person within its jurisdiction the equal

  protection of the laws.” U.S. Const. amend. XIV, §1. “The Clause embodies the

  principle that all persons similarly situated should be treated alike.” Marie v.

  American Red Cross, 771 F.3d 344, 361 (6th Cir. 2014) (quotation omitted). To

  establish an equal protection violation, Plaintiffs must show that the action was

  taken “because of, not merely in spite of, its adverse impact on persons in the

  plaintiffs’ class.” Horner, 43 F.3d at 276 (citing Personnel Adm’r v. Feeney, 442

  U.S. 256, 279 (1979). The Supreme Court has explained that “the type of impact

  sufficient in itself to prove intentional discrimination is that which is significant,

  stark, and unexplainable on other grounds.”        Id. (citing Village of Arlington

  Heights v. Metropolitan Housing Development Corp., 429 U.S. 252, 266 (1977)).

        To establish an equal protection violation, Plaintiffs must prove that they

  were treated differently than similarly situated male student-athletes. See Doe v.

  Ohio State Univ., 239 F. Supp. 3d 1048, 1082-83 (S.D. Ohio 2017) (“In order to

  state a claim for an equal protection violation based upon gender discrimination,

  Plaintiff must demonstrate that he was treated differently—under the same facts

  and circumstances—than a member of the opposite gender”); Dixon v. Univ. of

  Toledo, 702 F.3d 269, 278 (6th Cir. 2012) (Equal Protection Clause protects from

  discrimination “among similarly-situated individuals”). “Disparate treatment is a




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  threshold element, which [Plaintiff] must show in order to maintain [her] claim

  under the Equal Protection Clause.” Marie, 771 F.3d at 361.

        Here, Plaintiffs allege that “By Defendants choosing to treat male and

  female athletes differently by reducing the number of opportunities for females

  [Defendants] intentionally discriminated on the basis of sex and deprive[d] female

  student-athletes of their right to equal protection secured by the Fourteenth

  Amendment.” (Dkt#1, Compl, ¶91). This is the entirety of their allegations of

  intentional discrimination. However, under Iqbal and Twombly, these conclusory

  assertions are not entitled to a presumption of truth.        First, the affirmative

  allegations of the Complaint state that both men and women experienced a

  reduction in the number of athletic opportunities, and therefore, the elimination of

  some women’s opportunities does not in any way support a plausible claim that

  EMU treated men and women differently. Plaintiffs glaring failure to allege that

  women were intentionally disproportionately affected is particularly significant in

  light of the other allegations clearly indicating that it was men who were

  disproportionately affected.

        Moreover, the mere fact that varsity sports teams at EMU, as at most

  universities are designated as male or female does not turn the gender-neutral

  budget decision to cut back the overall athletics program into a prohibited gender

  classification or an inherently gender-based decision. Courts applying the Equal



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  Protection Clause have long held that making decision with knowledge or concern

  about how the decision may affect persons of different demographic backgrounds

  does not create an impermissible classification. For example in Spulock v. Fox,

  716 F.3d 383 (6th Cir. 2013), the plaintiffs challenged a school redistricting plan

  that was adopted to equalize utilization of the district’s various physical facilities.

  The plaintiffs alleged that the plan was an impermissible racial classification

  because the drafters had sought and considered data regarding racial composition

  of the schools before the adoption of the plan and projections of how those

  compositions would change under various versions of the plan. The Sixth Circuit

  affirmed a judgment to the defendants, specifically rejecting the theory that

  consideration of racial data constituted use of racial classifications in formulating

  the plan.    It explained that “[r]acial classification requires more than the

  consideration of racial data. If consideration of racial data were alone sufficient to

  trigger strict scrutiny, then policymakers would be required to blind themselves to

  the demographic realities of their jurisdictions and the potential demographic

  consequences of their decisions.” 716 F.3d at 394 (emphasis in original).

        Likewise in Doe v. Lower Merion Sch. Dist., 665 F.3d 524 (3d Cir. 2011),

  the court held that the formulation of a school redistricting plan could not be

  considered a form of racial classification simply because it was done with

  conscious consideration of the demographics of the neighborhoods. There, the



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  court held that “[t]he consideration or awareness of race while developing or

  selecting a policy, however, is not in and of itself a racial classification. …

  Designing a policy ‘with racial factors in mind’ does not constitute a racial

  classification if the policy is facially neutral and is administered in a race-neutral

  fashion.” 665 F.3d at 548.

        Here, EMU made a decision to reduce athletic spending. That its decision

  was carried out with knowledge of which teams were men’s and which were

  women’s is insufficient to establish an impermissible gender classification or the

  existence of intentional discrimination. Consequently, Plaintiffs fail to state a

  claim on which relief can be granted.

  C.    Plaintiffs Fail to State a Title IX Claim Because They Fail to Allege
        Intentional Discrimination and Because There is No Private Right of
        Action to Enforce the Regulation Upon Which They Rely.

        Plaintiffs’ Title IX claim fails for similar reasons. First, §901 of Title IX, 20

  U.S.C. §1681, the only section from which a private right of action under Title IX

  can be implied, prohibits only intentional discrimination based on sex.             As

  discussed above, Plaintiffs do not allege any intentional discrimination on the basis

  of gender. To the extent Plaintiff seek to get around that defect by claiming EMU

  failed to otherwise comply with the Policy Interpretation, failure to comply with

  the Policy Interpretation absent proof of intentional discrimination does not permit

  a private right of action. The Policy Interpretation was promulgated under §902,



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  which does not itself support a private right of action. Thus, to the extent the

  Policy Interpretation prohibits anything more than intentional discrimination, it is

  not enforceable by way of a private action.

        Section 901 prohibits only intentional discrimination on account of sex.

  Jackson v. Birmingham Bd of Educ., 544 U.S. 167, 174 (2005) (private right of

  action under Title IX exists for retaliation for filing a complaint of sex

  discrimination because retaliation “constitutes intentional ‘discrimination’ ‘on the

  basis of sex’”); Horner v. Kentucky High School Athletic Ass’n, 206 F.3d 685, 692

  (6th Cir. 2000) (concluding that intent to discriminate is required to prove a Title

  IX claim.); Alexander v. Sandoval, 532 U.S. 275 (2001) (holding that identical

  language of §601 of Title VI, 42 U.S.C. §2000d, prohibits only intentional

  discrimination). Thus, for Plaintiffs to state a claim they must allege intentional

  disparate treatment of women.

        As discussed above, Plaintiffs do not allege intentional discrimination that

  would violate §901.     The essence of an intentional discrimination disparate

  treatment claim is to show that the plaintiffs were treated less favorably than

  members of other groups and that the disfavorable treatment was motivated by a

  prohibited demographic factor. Int’l Bhd. of Teamsters v. United States, 431 U.S.

  324, 335 n.15 (1977) (“’Disparate treatment’ … is the most easily understood type

  of discrimination. The employer simply treats some people less favorably than



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  others because of their race, color, religion, sex, or national origin. Proof of

  discriminatory motive is critical, …”).

            Here, Plaintiffs make no allegation that women were treated disfavorably in

  comparison to men. Their attempt to fill the gap by alleging a statistical disparity

  between the percentage of women student-athletes and the percentage of women

  students flies in the face of the express language of §901(b), which expressly

  prohibits finding a violation based solely on statistical disparity. This section

  states:

            Nothing contained in [§1681(a)] shall be interpreted to require any
            educational institution to grant preferential or disparate treatment to
            the members of one sex on account of an imbalance which may exist
            with respect to the total number or percentage of persons of that sex
            participating in or receiving the benefits of any federally supported
            program or activity, in comparison with the total number or
            percentage of person of that sex in any community, State, section or
            other area: provided that [consideration of statistical evidence of
            imbalances will be allowed.]

  20 U.S.C. §1681(b). All Plaintiffs allege is a statistical disparity, and perhaps that

  the disparity ought to be shrinking faster than it is. But that is simply not enough

  to support a claim of intentional discrimination in violation of §901.

            Assuming the truth of Plaintiffs’ allegation that EMU’s conduct, although

  not intentionally discriminatory, nonetheless violates the Policy Interpretation,

  such an allegation is insufficient to support a private right of action. Alexander v.

  Sandoval, 532 U.S. 275, 285-90 (2001).            Sandoval involved a challenge to



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  Alabama’s decision to provide driver’s license exams only in English.             The

  plaintiff claimed that the decision violated §601 of Title VI because it had a

  disparate adverse impact based on national origin and race, and pointed to

  administrative regulations that prohibited practices having the effect of

  discriminating on account of national origin, in addition to those which were

  intentionally discriminatory. The district court enjoined the English-only rule, and

  the Eleventh Circuit affirmed. Id. at 279.

        The Supreme Court reversed, holding first that §601 created a private right

  of action only for intentional discrimination, and therefore the plaintiff could not

  imply a private right of action for disparate impact discrimination from that

  section. 532 U.S. at 280. Second, the Court assumed that the regulations were a

  proper exercise of the agency’s authority under §602 of Title VI, 42 U.S.C. §

  2000d-1. The Court then held that a suit to enforce the regulation to the extent that

  it prohibited more than intentional discrimination could be allowed only if §602,

  itself, implied the existence of a private right of action. Id. Finally, the Court held

  that the language of §602 did not create an implied private cause of action. The

  Court relied on the absence of any “rights-creating language” in §602, as well as

  the fact that §602 contained detailed procedures for administrative enforcement of

  any regulations promulgated, which rather than provide a private right of action,

  “suggest[ed] the opposite.”     Id. at 288-89.     The Court explained that these



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  “elaborate restrictions on agency enforcement . . . tend to contradict a

  congressional intent to create privately enforceable rights through § 602 itself. The

  express provision of one method of enforcing a substantive rule suggests that

  Congress intended to preclude others.” Id. at 290.

        Sandoval is directly applicable here because the language of §§601 and 602

  of Title VI interpreted in Sandoval are identical to that of §§901 and 902 of Title

  IX. Section 901 of Title IX is identical to §601 of Title VI except in substituting

  the word “sex” for “race, color or national origin.” Cannon v. Univ. of Chicago,

  441 U.S. 677, 695 (1979) (“Except for the substitution of the word ‘sex’ in Title IX

  to replace the words ‘race, color, or national origin’ in Title VI the two statutes are

  identical …”). Thus the two laws have always been interpreted in pari materia.

  Id. at 696-703. Just as in Title VI, the very next section of Title IX, §902, 20

  U.S.C. §1682, authorizes federal agencies to promulgate regulations to effectuate

  the provisions of §901. Significantly, the language of §902 is identical to that of

  §602, with the exception that the word “education” is inserted to modify “program

  or activity,” and the reference to §601 is changed to §901. Compare 20 U.S.C.

  §1682 with 42 U.S.C. §2000d-1. Section 902 contains the exact same detailed

  requirements for implementation and administrative enforcement of the regulations

  as does §602. Like §602, §902 contains no “rights creating language” but is

  instead directed solely to the federal agencies which extend federal assistance:



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        Each Federal department and agency which is empowered to extend
        Federal financial assistance to any education program or activity … is
        authorized and directed to effectuate the provisions of section 1681 of
        this title with respect to such program or activity by issuing rules,
        regulations or orders of general applicability which shall be consistent
        with achievement of the objectives of the statute authorizing the
        financial assistance in connection with which the action is taken….

  20 U.S.C. §1682. Given the identity of the language and substance between §902

  and §602, §902 must be held not to imply a private right of action to independently

  enforce the regulations promulgated thereunder to the extent they prohibit anything

  more than intentional discrimination.

        In summary, Sandoval makes three things clear. First, §901 of Title IX,

  prohibits only intentional discrimination based on gender. Second, §902 of Title

  IX, which authorizes the DOE to issue and enforce regulations, does not support an

  implied private right of action based on those regulations. Third, as a result,

  regulations adopted under §902, which impose duties or liabilities that exceed

  those of §901 are not enforceable by a private litigant. This is exactly the case

  with Plaintiffs’ claim here.

        This case is indistinguishable from Sandoval. Both involve attempts to

  imply a private right of action from regulations or sub-regulation-level

  administrative policy guidance that expand the obligations of a federal funds

  recipient beyond that required by the statute. Even if that expansion is a legitimate

  exercise of the authority granted the agency for purposes of its administrative



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  enforcement of the law, a private cause of action is not allowed.

  D.    The Individual Defendants are Entitled to Qualified Immunity

        Government employees, such as the individual defendants, are immune from

  civil liability5 under 42 U.S.C. §1983 when performing discretionary duties,

  provided “their conduct does not violate clearly established statutory or

  constitutional rights of which a reasonable person would have known.” Simmonds

  v. Genesee Cnty, 682 F.3d 438, 443 (6th Cir. 2012) (quotations omitted). Qualified

  immunity prevents employees from being held liable for reasonable mistakes of

  law, fact, or mixed questions of law and fact made while acting within their scope

  of authority. Id.

        To determine whether qualified immunity shields an employee from §1983

  liability, the Sixth Circuit applies a two-prong test and inquires: (1) whether the

  employee violated a constitutional right; and (2) if so, whether that constitutional

  right was so clearly established that a “reasonable official would understand that

  what he is doing violates that right.” Id. (quoting Saucier v. Katz, 533 U.S. 194,

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    Plaintiffs’ Complaint seeks “compensatory damages and other monetary relief.”
  (Dkt#1, Complaint at p. 33, ¶E). However, during the hearing on Plaintiffs’
  Motion for Temporary Restraining Order and for Preliminary Injunction,
  Plaintiffs’ counsel confirmed that Plaintiffs are not seeking money damages. (Ex
  1, Transcript at 42 (“Court: Are you seeking money damages as well? Ms.
  Bullock: No, Your Honor. Attorney’s fees would be the applicable monetary
  damage. But nothing beyond that.”)). Because Plaintiffs’ Complaint continues to
  seek money damages and Plaintiffs declined to concur that the individual
  defendants are protected by qualified immunity, Defendants have included the
  following argument.

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  202, (2001)). “In the absence of a serious factual dispute, a party’s entitlement to

  qualified immunity is a question of law reserved for the judge.” Binelli v. Charter

  Twp of Flint, 488 F. App’x 95, 97 (6th Cir. 2012) (emphasis added).6

          “[I]t is well-settled that qualified immunity must be assessed in the context

  of each individual's specific conduct.” Stoudemire v. Michigan Dept. of

  Corrections, 705 F.3d 560, 570 (6th Cir. 2013) (quotations omitted). Once a

  defendant raises qualified immunity, “the burden is on the plaintiff to demonstrate

  that the official [is] not entitled to qualified immunity,” Silberstein v. City of

  Dayton, 440 F.3d 306, 311 (6th Cir 2006), by alleging “facts sufficient to indicate

  that the [employee’s] act in question violated clearly established law at the time the

  act was committed,” Russo v. City of Cincinnati, 953 F.2d 1036, 1043 (6th Cir.

  1992). To defeat qualified immunity, a plaintiff “must present evidence sufficient

  to create a genuine issue as to whether the defendant committed the acts that

  violated the law.” Adams v. Metiva, 31 F.3d 375, 386 (6th Cir. 1994).

          Plaintiffs are unable to explain how each individual defendant committed

  specific acts which violated their constitutional rights. Nor are they able to

  establish that their alleged rights were clearly established such that each individual

  defendant would have understood that any of those actions violated Plaintiffs’

  constitutional rights. Moreover, the rights Plaintiffs allege were violated were not

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      Unpublished cases are attached as Exhibit 2.


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  clearly established in the present context. “For the right to be clearly established

  the case law must dictate, that is, truly compel (not just suggest or allow or raise a

  question about), the conclusion for every like-situated, reasonable government

  agent that what defendant is doing violates federal law in the circumstances.”

  Gragg v. Kentucky Cabinet for Workforce Development, 289 F.3d 958, 964 (6th

  Cir. 2002) (quotation omitted). “Because the focus is on whether the [employee]

  had fair notice that her conduct was unlawful, reasonableness is judged against the

  backdrop of the law at the time of the conduct. If the law at that time did not

  clearly establish that the [employee’s] conduct would violate the Constitution, the

  [employee] should not be subject to liability or, indeed, even the burdens of

  litigation.” Brosseau v. Haugen, 543 U.S. 192, 198 (2004). Courts must “ask

  whether a right was clearly established at a level of great particularity and detail.”

  Binelli, 488 F. App’x at 97 (citing Anderson v. Creighton, 483 US 635, 639-40

  (1987)). Furthermore, qualified immunity protects an employee who “makes a

  decision that, even if constitutionally deficient, reasonably misapprehends the law

  governing the circumstances she confronted.” Brosseau, 543 U.S. at 198.

  “Officials are not liable for bad guesses in gray areas; they are liable for

  transgressing bright lines.” Maciariello v. Sumner, 973 F.2d 295, 298 (4th Cir.

  1992); Bing v. City of Whitehall, 456 F.3d 555, 571 (6th Cir. 2006) (holding that




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  employees’ “actions fall near enough to the ‘hazy’ border separating illegal from

  legal conduct for qualified immunity to attach”).

        As relevant here, “Plaintiffs do not have a constitutional right to participate

  in intercollegiate athletics.” Horner, 43 F.3d at 275. Moreover, Plaintiffs cannot

  identify any clear, unambiguous case law establishing that the decision to eliminate

  male and female athletic teams at the same time violates the Equal Protection

  Clause. Thus, Plaintiffs’ rights are not “clearly established” and the individual

  defendants are qualifiedly immune.

                                  IV.    Conclusion

        For the foregoing reasons, Defendants respectfully request that this Court

  grant Defendants’ motion and dismiss Plaintiffs’ Complaint in its entirety.

                                  Respectfully submitted,

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                             CERTIFICATE OF SERVICE
           I hereby certify that on August 20, 2018, I electronically filed the foregoing

  papers with the Clerk of the Court using the ECF system which will send

  notification of such filing to all attorneys of record.

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